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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

 

SEIDMAN, et al.,
Plaintiffs,
Vv.
No. 1:18-CV-202
COLBY, et al., (TJM/CFH)
Defendants.
APPEARANCES: OF COUNSEL:

Law Office of Gregory P. Mouton, Jr., LLC GREGORY PAUL MOUTON, JR., ESQ.
1441 Broadway, 6" Floor

New York, New York 10018

Attorney for Plaintiffs

Attorney General for the MICHAEL G. MCCARTIN, ESQ,
State of New York Assistant Attorney General
The Capitol

Albany, New York 12224
Attorney for defendant
Joseph Colby

CHRISTIAN F. HUMMEL
U.S. MAGISTRATE JUDGE

ORDER

A conference was conducted with counsel for all parties on January 5, 2021.
The Court directed that defendant Colby’s disciplinary file with the New York State
Police be delivered to the Court for in camera review. Text Minute Entry dated Jan. 5,

2021. Defendant Colby’s disciplinary file was delivered to the Court

 
 

 

Case 1:18-cv-00202-TJM-CFH Document 41 Filed 01/12/21 Page 2 of 2

The Court has conducted an in camera review of defendant Colby’s disciplinary

file. The file contains case number DCN 2019-0241 and case number 2017-0226.

Based upon the Court’s review of the disciplinary file it is hereby,

ORDERED that:
1) Plaintiffs request for disciplinary file DCN 2019-0241 is DENIED, as nothing in
that file is the proper subject of discovery pursuant to Rule 26 of the Federal
Rules of Civil Procedure; and
2) Plaintiff's request for a copy of disciplinary file 2017-0226 is GRANTED. Counse
for defendant Colby is directed to provide that file, with the exception of page 48,
which is a medical report regarding a nonparty, to plaintiff's counsel within ten

(10) days from the date of this Order.

IT IS SO ORDERED.

Dated: January 11, 2021
Albany, New York

Z

Christian F. Hummel
U.S. Magistrate Judge

 
